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8                               UNITED STATES DISTRICT COURT
9                              SOUTHERN DISTRICT OF CALIFORNIA
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11   EPICENTRX, INC.,                                    Case No.: 20cv1058-JO (MSB)
12                                      Plaintiff,
                                                         ORDER:
13   v.
                                                         (1) GRANTING JOINT MOTION TO LIFT
14   COREY A. CARTER,
                                                         MAY 24, 2022 DISCOVERY STAY;
15                                   Defendant.
                                                         (2) SETTING TELEPHONIC DISCOVERY
16
                                                         CONFERENCE;
17   AND RELATED COUNTERCLAIMS
                                                         AND
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19                                                       (3) ISSUING AMENDED SCHEDULING
                                                         ORDER REGULATING DISCOVERY AND
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                                                         OTHER PRETRIAL PROCEEDINGS.
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23         On June 29, 2022, the parties filed a joint motion asking the Court to lift discovery
24   stay entered on May 24, 2022, amend scheduling order, and set addition deadlines
25   related to discovery issues. (ECF No. 202.) In support, the parties state that they are
26   ready to proceed with discovery, and move to lift the discovery stay that went into
27   effect on May 24, 2022. (Id. at 3.) The parties further assert that they require additional
28   time until August 30, 2022, to complete the pending depositions, and ask the Court to
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1    schedule a telephonic Discovery Conference, which was vacated in light of the stay. (Id.
2    at 4.) Finally, the parties state that in light of the death of defense counsel and the
3    resulting discovery stay, as well as the case’s current procedural posture, they require
4    additional time to complete non-fact discovery, and move to continue the remaining
5    scheduling deadlines by “several months.” (Id.)
6            Having considered the joint motion and finding good case, the Court GRANTS the
7    motion. Accordingly, the Court issues the following ORDERS:
8            1. Discovery stay entered on May 24, 2022 [ECF No. 198] is LIFTED.
9            2. The deadline to complete the depositions of fact witnesses is CONTINUED
10   until August 30, 2022.
11           3. The telephonic discovery conference that this Court originally set for June 1,
12   2022 to address potential discovery disputes and subsequently vacated in light of the
13   stay is RESET for July 14, 2022, at 2:00 p.m. Plaintiff’s counsel is to arrange and initiate
14   the conference call. The telephone number for Judge Berg’s chambers is (619) 557-
15   6632.
16           The parties are further ORDERED to submit their respective letter briefs of no
17   more than three (3) pages in length, including all attachments and exhibits, describing
18   their positions on each issue in dispute. The parties are ORDERED to exchange and
19   lodge the letter briefs via e-mail to efile_berg@casd.uscourts.gov by noon on July 12,
20   2022.
21           Further, after consulting with the chambers of District Judge Ohta, the Court
22   issues the following Amended Scheduling Order Regulating Discovery and Other Pretrial
23   Proceedings:
24           1.    All expert discovery shall be completed by all parties by August 30, 2022.
25   The parties shall comply with the same procedures set forth in the paragraph governing
26   fact discovery.
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1          2.     Failure to comply with this section or any other discovery order of the court
2    may result in the sanctions provided for in Fed. R. Civ. P. 37, including a prohibition on
3    the introduction of experts or other designated matters in evidence.
4          3.     All other pretrial motions must be filed by September 19, 2022. Counsel
5    for the moving party must obtain a motion hearing date from the law clerk of the judge
6    who will hear the motion. The period of time between the date you request a motion
7    date and the hearing date may vary from one district judge to another. Please plan
8    accordingly. Failure to make a timely request for a motion date may result in the
9    motion not being heard. Motions in limine are to be filed as directed in the Local Rules,
10   or as otherwise set by the district judge.
11         4.     A telephonic attorneys-only Case Management Conference is set for
12   October 6, 2022, at 10:00 a.m. Plaintiff’s counsel is to arrange and initiate the
13   conference call. The telephone number for Judge Berg’s chambers is (619) 557-6632.
14         5.     A Mandatory Settlement Conference shall be conducted on November 16,
15   2022, at 9:30 a.m., in the chambers of Magistrate Judge Michael S. Berg located at 221
16   West Broadway, second floor, San Diego, CA 92101. All discussions at the Mandatory
17   Settlement Conference will be informal, off the record, privileged, and confidential.
18   Counsel for any non-English speaking party is responsible for arranging for the
19   appearance of an interpreter at the conference.
20                a.    Personal Appearance of Parties Required: All named parties, party
21   representatives, including claims adjusters for insured defendants, as well as the
22   principal attorney(s) responsible for the litigation, must be present in person and legally
23   and factually prepared to discuss and resolve the case. Counsel appearing without their
24   clients (whether or not counsel has been given settlement authority) will be cause for
25   immediate imposition of sanctions and may also result in the immediate termination of
26   the conference.
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1                  b.      Full Settlement Authority Required: A party or party representative
2    with full settlement authority1 must be present at the conference. Retained outside
3    corporate counsel shall not appear on behalf of a corporation as the party
4    representative who has the authority to negotiate and enter into a settlement. A
5    government entity may be excused from this requirement so long as the government
6    attorney who attends the Mandatory Settlement Conference has (1) primary
7    responsibility for handling the case, and (2) authority to negotiate and recommend
8    settlement offers to the government official(s) having ultimate settlement authority.
9                  c.      Confidential Settlement Statements Required: On or before
10   November 9, 2022, the parties shall submit directly to Magistrate Judge Berg’s
11   chambers (via hand delivery or by e-mail to the Court at efile_berg@casd.uscourts.gov),
12   confidential settlement statements. The statements are limited to ten (10) pages, plus
13   an additional ten (10) pages of exhibits. Each party’s settlement statement must outline
14   (1) the nature of the case and the claims, (2) position on liability or defenses;
15   (3) position regarding settlement of the case with a specific demand/offer for
16   settlement, and (4) any previous settlement negotiations or mediation efforts. The
17   Mandatory Settlement Conference statement must not merely repeat what was
18   contained in the Early Neutral Evaluation conference brief or any earlier settlement
19   brief. The settlement statement must specifically identify what the discovery process
20   revealed and the effect that the evidence has on the issues in the case. To the extent
21   specific discovery responses, portions of deposition testimony, or expert reports are
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     1 “Full settlement authority” means that the individuals at the settlement conference must be
24   authorized to fully explore settlement options and to agree at that time to any settlement terms
     acceptable to the parties. Heileman Brewing Co. v. Joseph Oat Corp., 871 F.2d 648, 653 (7th Cir. 1989).
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     The person needs to have “unfettered discretion and authority” to change the settlement position of a
26   party. Pitman v. Brinker Int’l, Inc., 216 F.R.D. 481, 485–86 (D. Ariz. 2003). The purpose of requiring a
     person with unlimited settlement authority to attend the conference contemplates that the person’s
27   view of the case may be altered during the face to face conference. Id. at 486. A limited or a sum
     certain of authority is not adequate. See Nick v. Morgan’s Foods, Inc., 270 F.3d 590, 595–97 (8th Cir.
28   2001).
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1    pertinent to the Court’s evaluation of the matter, these documents must be attached as
2    exhibits. Evidence supporting or refuting either party’s claim for damages must also be
3    identified and included as an exhibit.
4           If a specific demand or offer cannot be made at the time the settlement
5    statement is submitted, then the reasons as to why a demand or offer cannot be made
6    must be stated. Further, the party must explain when they will be in a position to state
7    a demand or offer. General statements such as a party will “negotiate in good faith” is
8    not a specific demand or offer. The settlement statement should be submitted
9    confidentially and need not be shared with other parties.
10                 d.     Requests to Continue a Mandatory Settlement Conference:
11   Any request to continue the Mandatory Settlement Conference, or request for relief
12   from any of the provisions or requirements of this Order, must be sought by a written
13   application. Absent good cause, requests for continuances will not be considered
14   unless submitted in writing no fewer than seven (7) calendar days prior to the
15   scheduled conference.
16          6.     If the case is settled in its entirety before the scheduled date of the
17   conference, counsel and any unrepresented parties must still appear in person, unless
18   a written joint notice confirming the complete settlement of the case is filed no fewer
19   than twenty-four (24) hours before the scheduled conference.
20          7.     If the trial will be a bench trial, Counsel shall file their Memoranda of
21   Contentions of Fact and Law and take any other action required by Local Rule 16.1(f)(2)
22   by December 21, 2022. Counsel do not need to file Memoranda of Contentions of Fact
23   and Law if the trial will be a jury trial.
24          8.     Counsel shall comply with the pre-trial disclosure requirements of Fed. R.
25   Civ. P. 26(a)(3) by December 21, 2022. Failure to comply with these disclosure
26   requirements could result in evidence preclusion or other sanctions under Fed. R. Civ. P.
27   37.
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1             9.    Counsel shall meet and take the action required by Local Rule 16.1(f)(4) by
2    December 28, 2022. At this meeting, counsel shall discuss and attempt to enter into
3    stipulations and agreements resulting in simplification of the triable issues. Counsel shall
4    exchange copies and/or display all exhibits other than those to be used for
5    impeachment. The exhibits shall be prepared in accordance with Local Rule
6    16.1(f)(4)(c). Counsel shall note any objections they have to any other parties’ Pretrial
7    Disclosures under Fed. R. Civ. P. 26(a)(3). Counsel shall cooperate in the preparation of
8    the proposed pretrial conference order.
9             10.   Counsel for plaintiff will be responsible for preparing the pretrial order and
10   arranging the meetings of counsel pursuant to Civil Local Rule 16.1(f). By January 4,
11   2023, plaintiff’s counsel must provide opposing counsel with the proposed pretrial order
12   for review and approval. Opposing counsel must communicate promptly with plaintiff’s
13   attorney concerning any objections to form or content of the pretrial order, and both
14   parties shall attempt promptly to resolve their differences, if any, concerning the order.
15            11.   The Proposed Final Pretrial Conference Order, including objections to any
16   other parties’ Fed. R. Civ. P. 26(a)(3) Pretrial Disclosures shall be prepared, served and
17   lodged with the assigned district judge by January 11, 2023, and shall be in the form
18   prescribed in and comply with Local Rule 16.1(f)(6).
19            12.   The final Pretrial Conference is scheduled on the calendar of the Honorable
20   Jinsook Ohta on January 18, 2023, at 8:30 a.m.
21            13.   The parties must review the chambers’ rules for the assigned magistrate
22   judge.
23            14.   A post trial settlement conference before a magistrate judge may be held
24   within 30 days of verdict in the case.
25            15.   The dates and times set forth herein will not be modified except for good
26   cause shown.
27            16.   Briefs or memoranda in support of or in opposition to any pending motion
28   shall not exceed twenty-five (25) pages in length without leave of a district court judge.
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1    No reply memorandum shall exceed ten (10) pages without leave of a district court
2    judge. Briefs and memoranda exceeding ten (10) pages in length shall have a table of
3    contents and a table of authorities cited.
4          IT IS SO ORDERED.
5    Dated: July 1, 2022
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